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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


ALEX BROWN and TRENT CLAYTON, )
individually and on behalf of all others )
similarly situated,                      )
                                         )
                Plaintiffs,              )
                                         )
        v.                               )            2:21cv1119
                                         )            Electronic Filing
PENNSYLVANIA                             )
INTERSCHOLASTIC ATHLETIC                 )
ASSOCIATION, INC.                        )
                                         )
                Defendant.               )


                                       ORDER OF COURT

       AND NOW, this 13th day of December, 202, it appearing that a settlement has been
reached as to all aspects of plaintiffs’ complaint and the only remaining matter is the submission
of a stipulation for settlement and discontinuance; therefore, with no further action being
required by the court at this time, the following order is entered:
       IT IS ORDERED that the Clerk of Court mark the above case closed.
       Nothing contained in this order shall be construed as a final dismissal or disposition of
this case and should further proceedings in it become necessary, any party may initiate the
appropriate course of action in the same manner as if this order had not been entered.
Jurisdiction is retained over the completion and enforcement of the settlement agreement.




                                               s/ DAVID STEWART CERCONE
                                               David Stewart Cercone
                                               Senior United States District Judge
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cc:   Kevin W. Tucker, Esquire
      Chandler Steiger, Esquire
      Stephanie Moore, Esquire
      Carol Steinour Young, Esquire
      Devin Chwastuk, Esquire
      Lauren Anthony, Esquire


      (Via CM/ECF Electronic Mail)




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